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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
V.

THOMAS CALDWELL,
(Counts 1, 2, 4, 10)

DONOVAN CROWL,
(Counts 1, 2, 3, 4, 7)

JESSICA WATKINS,
(Counts 1, 2, 3, 4, 7)

SANDRA PARKER,
(Counts 1, 2, 3, 4, 7)

BENNIE PARKER,
(Counts 1, 2, 4)

LAURA STEELE,
(Counts 1, 2, 3, 4, 7, 14)

KELLY MEGGS,
(Counts 1, 2, 3, 4, 11)

CONNIE MEGGS,
(Counts 1, 2, 3, 4)

KENNETH HARRELSON,
(Counts 1, 2, 3, 4, 12)

ROBERTO MINUTA,
(Counts 1, 2, 4)

JOSHUA JAMES,
(Counts 1, 2, 4, 8, 9, 13)

CRIMINAL NO. 21-cr-28-APM

VIOLATIONS:
18 U.S.C. § 371 (Conspiracy)

18 U.S.C. §§ 1512(c)(2), 2
(Obstruction of an Official Proceeding and
Aiding and Abetting)

18 U.S.C. §§ 1361, 2
(Destruction of Government Property and
Aiding and Abetting)

18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. §§ 231(a)(3), 2
(Civil Disorder and Aiding and Abetting)

18 U.S.C. § 111(a)(A), 2
(Assaulting, Resisting, or Impeding
Certain Officers and Aiding and Abetting)

18 U.S.C. § 1512(c)(1), 2
(Tampering with Documents or
Proceedings and Aiding and Abetting)

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JONATHAN WALDEN,
(Counts 1, 2, 4)

JOSEPH HACKETT,
(Counts 1, 2, 3, 4)

JASON DOLAN, and
(Counts 1, 2, 3, 4, 5)

WILLIAM ISAACS,
(Counts 1, 2, 3, 4, 6, 7)

DAVID MOERSCHEL,
(Counts 1, 2, 3, 4)

BRIAN ULRICH,
(Counts 1, 2, 4)

Defendants.

FIFTH SUPERSEDING INDICTMENT

The Grand Jury charges that, at all times material to this Indictment, on or about the dates

and times stated below:

Introduction

The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

1.

2.

The 2020 United States Presidential Election occurred on November 3, 2020.

The United States Electoral College (“Electoral College”) is a group required by

the Constitution to form every four years for the sole purpose of electing the president and vice

 

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president, with each state appointing its own electors in a number equal to the size of that state’s
Congressional delegation.

3. On December 14, 2020, the presidential electors of the Electoral College met in the
state capital of each state and in the District of Columbia and formalized the result of the 2020
U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have won
sufficient votes to be elected the next president and vice president of the United States.

4. On January 6, 2021, a Joint Session of the United States House of Representatives
and the United States Senate (“the Joint Session”) convened in the United States Capitol (“the
Capitol”) building. The purpose of the Joint Session was to open, count, and resolve any objections
to the Electoral College vote of the 2020 U.S. Presidential Election, and to certify the results of
the Electoral College vote (“Certification of the Electoral College vote”) as set out in the Twelfth
Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

The Attack at the U.S. Capitol on January 6, 2021

5. The Capitol is secured 24 hours a day by United States Capitol Police (“Capitol
Police”). The Capitol Police maintain permanent and temporary barriers to restrict access to the
Capitol exterior, and only authorized individuals with appropriate identification are allowed inside
the Capitol building.

6. On January 6, 2021, at approximately 1:00 p.m., the Joint Session convened in the
Capitol building for the Certification of the Electoral College vote. Vice President Michael R.
Pence, in his constitutional duty as President of the Senate, presided over the Joint Session.

7. A large crowd began to gather outside the Capitol perimeter as the Joint Session
got underway. Crowd members eventually forced their way through, up, and over Capitol Police

barricades and advanced to the building’s exterior facade. Capitol Police officers attempted to

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maintain order and stop the crowd from entering the Capitol building, to which the doors and
windows were locked or otherwise secured. Nonetheless, shortly after 2:00 p.m., crowd members
forced entry into the Capitol building by breaking windows, ramming open doors, and assaulting
Capitol Police officers. Other crowd members encouraged and otherwise assisted the forced entry.
The crowd was not lawfully authorized to enter or remain inside the Capitol, and no crowd member
submitted to security screenings or weapons checks by Capitol Police or other security officials.

8. Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate
(including Vice President Pence}—who had withdrawn to separate chambers to resolve an
objection—were evacuated from their respective chambers. The Joint Session was halted while
Capitol Police and other law-enforcement officers worked to restore order and clear the Capitol of
the unlawful occupants.

9. Later that night, law enforcement regained control of the Capitol. At approximately
8:00 p.m., the Joint Session reconvened, presided over by Vice President Pence, who had remained
hidden within the Capitol building throughout these events.

10. Inthe course of these events, over 100 members of law enforcement were assaulted.
The Capitol suffered millions of dollars in damage—including broken windows and doors, graffiti,
and residue from pepper spray, tear gas, and fire extinguishers deployed both by crowd members
who stormed the Capitol and by Capitol Police officers trying to restore order. Additionally, many
media members were assaulted and had cameras and other news-gathering equipment destroyed.

The Oath Keepers Militia

11. | Members and affiliates of an organization known as the Oath Keepers were among

the individuals and groups who forcibly entered the Capitol on January 6, 2021. The Oath Keepers

are a large but loosely organized collection of individuals, some of whom are associated with

 

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militias. Some members of the Oath Keepers believe that the federal government has been coopted
by a cabal of elites actively trying to strip American citizens of their rights. Though the Oath
Keepers will accept anyone as members, they explicitly focus on recruiting current and former
military, law enforcement, and first-responder personnel. The organization’s name alludes to the
oath sworn by members of the military and police to defend the Constitution “from all enemies,
foreign and domestic.” The Oath Keepers are led by PERSON ONE.

12. On January 4, 2021, PERSON ONE posted an article to the Oath Keepers website
encouraging Oath Keeper members and affiliates to go to Washington, D.C., for the events of
January 5-6, 2021, stating:

It is CRITICAL that all patriots who can be in DC get to DC to stand tall in support

of President Trump’s fight to defeat the enemies foreign and domestic who are

attempting a coup, through the massive vote fraud and related attacks on our

Republic. We Oath Keepers are both honor-bound and eager to be there in strength

to do our part.

13. In his January 4 post, PERSON ONE also observed:

As we have done on all recent DC Ops, we will also have well armed and equipped

QRF'! teams on standby, outside DC, in the event of a worst case scenario, where

the President calls us up as part of the militia to to assist him inside DC. We don’t

expect a need for him to call on us for that at this time, but we stand ready if he

does (and we also stand ready to answer the call to serve as militia anytime in the

future, and anywhere in our nation, if he does invoke the Insurrection Act).

14. PERSON ONE initially named PERSON NINETEEN and PERSON TEN to be co-
leaders of his group’s operations in Washington, D.C., on January 6, 2021, but when PERSON
NINETEEN became sick shortly before January 6, 2021, PERSON ONE deemed PERSON TEN

to be the sole “operations leader.”

 

' “ORF” stands for “quick reaction force.”

 

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Conspirators

15. THOMAS CALDWELL was a 65-year-old resident of Berryville, Virginia.*
CALDWELL used the monikers “CAG,” “Spy,” and “CAG Spy.”

16. DONOVAN CROWL was a 50-year-old resident of Woodstock, Ohio.

17. JESSICA WATKINS was a 38-year-old resident of Woodstock, Ohio.

18. SANDRA PARKER was a 60-year-old resident of Morrow, Ohio, and the wife of
BENNIE PARKER.

19. | BENNIE PARKER was a 70-year-old resident of Morrow, Ohio, and the husband
of SANDRA PARKER.

20. Graydon Young was a 54-year-old resident of Englewood, Florida, and the brother
of LAURA STEELE. Young used the moniker “GenXPatriot.”

21. LAURA STEELE was a 52-year-old resident of Thomasville, North Carolina, and
the sister of Young.

22. KELLY MEGGS was a 52-year-old resident of Dunnellon, Florida, and the
husband of CONNIE MEGGS. KELLY MEGGS used the moniker “Gator 1” or “OK Gator 1.”

23. CONNIE MEGGS was a 59-year-old resident of Dunnellon, Florida, and the wife
of KELLY MEGGS.

24. KENNETH HARRELSON was a 40-year-old resident of Titusville, Florida.
HARRELSON used the moniker “Gator 6.”

25. ROBERTO MINUTA was a 36-year-old resident of Prosper, Texas.

26. JOSHUA JAMES was a 33-year-old resident of Arab, Alabama. JAMES used the

moniker “Hydro.”

 

? The ages and residences listed herein are as of January 6, 2021.

 

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27. JONATHAN WALDEN was a 46-year-old resident of Birmingham, Alabama.
WALDEN used the moniker “EoinAL.”

28. JOSEPH HACKETT was a 50-year-old resident of Sarasota, Florida. HACKETT
used the moniker “Ahab.”

29. JASON DOLAN was a 44-year-old resident of Wellington, Florida. DOLAN used
the moniker “Turmoil.”

30. WILLIAM ISAACS was a 21-year-old resident of Kissimmee, Florida.

31. DAVID MOERSCHEL was a 43-year-old resident of Tampa, Florida, who used
the moniker “Hatsy.”

32. Caleb Berry was a 19-year-old resident of Tampa, Florida, who used the moniker
“Breacher.”

33. Mark Grods was a 54-year-old resident of Mobile, Alabama, who used the moniker
“Sapper.”

34. | BRIAN ULRICH was a 43-year-old resident of Guyton, Georgia, who used the
moniker “Molon Labe.”

COUNT ONE
(Conspiracy—18 U.S.C. § 371)

35. The introductory allegations set forth in paragraphs 1 through 34 are re-alleged and
incorporated by reference as though set forth herein.
The Conspiracy
36. Between November 3, 2020, and January 6, 2021, in the District of Columbia and
elsewhere, the defendants,
THOMAS CALDWELL,

DONOVAN CROWL,
JESSICA WATKINS,
 

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SANDRA PARKER,
BENNIE PARKER,
LAURA STEELE,
KELLY MEGGS,
CONNIE MEGGS,
KENNETH HARRELSON,
ROBERTO MINUTA,
JOSHUA JAMES,
JONATHAN WALDEN,
JOSEPH HACKETT,
JASON DOLAN,
WILLIAM ISAACS,
DAVID MOERSCHEL, and
BRIAN ULRICH,
did knowingly combine, conspire, confederate, and agree with each other and others known and
unknown, to commit an offense against the United States, namely, to corruptly obstruct, influence,
and impede an official proceeding, that is, the Certification of the Electoral College vote, in
violation of Title 18, United States Code, Section 1512(c)(2).
Purpose of the Conspiracy
37. The purpose of the conspiracy was to stop, delay, and hinder the Certification of
the Electoral College vote.
Manner and Means
38. CALDWELL, CROWL, WATKINS, SANDRA PARKER, BENNIE PARKER,
Young, STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, MINUTA, JAMES,
WALDEN, HACKETT, DOLAN, ISAACS, MOERSCHEL, Berry, Grods, and ULRICH, with
others known and unknown, carried out the conspiracy through the following manner and means,
among others, by:
a. Agreeing to participate in and planning an operation to interfere with the

Certification of the Electoral College vote on January 6, 2021 (the “January 6

operation”);

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Attending or scheduling trainings to teach and learn paramilitary combat tactics in
advance of the January 6 operation;

Using websites, social media, text messaging, and messaging applications to recruit
other individuals to travel to Washington, D.C., to support the January 6 operation;
Coordinating in advance with others, including members of the Oath Keepers from
other regions, and joining forces with these individuals and groups to further the
January 6 operation;

Traveling to Washington, D.C., for the January 6 operation;

Bringing and contributing paramilitary gear and supplies—including firearms,
camouflaged combat uniforms, tactical vests with plates, helmets, eye protection,
and radio equipment—for the January 6 operation;

Donning clothes with the Oath Keepers insignia for the January 6 operation;
Changing into paramilitary gear—including helmets—before participating in the
January 6 operation;

Moving together in a military “stack” formation while utilizing hand signals to
maintain communication and coordination while advancing toward the Capitol as
part of the January 6 operation;

Forcibly storming past exterior barricades, Capitol Police, and other law
enforcement officers, and entering the Capitol in executing the January 6 operation;

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k. Using secure and encrypted communications applications like Signal’ and Zello‘ to
develop plans and later communicate during the January 6 operation.

Overt Acts

Planning for January 6, 2021

39. Ata GoToMeeting® held on November 9, 2020, PERSON ONE told those attending
the meeting, “We’re going to defend the president, the duly elected president, and we call on him
to do what needs to be done to save our country. Because if you don’t guys, you’re going to be in
a bloody, bloody civil war, and a bloody — you can call it an insurrection or you can call it a war
or fight.” PERSON ONE called upon his followers to go to Washington, D.C., to let the President
know “that the people are behind him.” PERSON ONE told his followers they needed to be
prepared to fight Antifa, which he characterized as a group of individuals with whom

if the fight comes, let the fight come. Let Antifa — if they go kinetic on us, then
we’ll go kinetic back on them. I’m willing to sacrifice myself for that. Let the fight
start there. That will give President Trump what he needs, frankly. If things go
kinetic, good. If they throw bombs at us and shoot us, great, because that brings
the president his reason and rationale for dropping the Insurrection Act.

PERSON ONE continued,

I do want some Oath Keepers to stay on the outside, and to stay fully armed and
prepared to go in armed, if they have to.... So our posture’s gonna be that we’re
posted outside of DC, um, awaiting the President’s orders. ... We hope he will
give us the orders. We want him to declare an insurrection, and to call us up as the
militia.

 

> Signal is an encrypted messaging service.

‘ Zello is an application that emulates push-to-talk walkie-talkies over cellular telephone
networks. Zello can be used on electronic communication devices, like cellular telephones and
two-way radios.

> GoToMeeting is an online meeting site that allows users to host conference calls and
video conferences via the Internet in real time.

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WATKINS, KELLY MEGGS, HARRELSON, HACKETT, PERSON THREE, PERSON TEN,
and others known and unknown attended this GoToMeeting. After PERSON ONE finished
speaking, WATKINS and KELLY MEGGS asked questions and made comments about what types
of weapons were legal in the District of Columbia.

40. On November 9, 2020, WATKINS, the self-described “C.O. [Commanding
Officer] of the Ohio State Regular Militia,” sent text messages to recruit a number of individuals
who had expressed interest in joining the Ohio State Regular Militia. In these messages,
WATKINS mentioned, among other things, that the militia had a week-long “Basic Training class
coming up in the beginning of January,” and told one recruit, “I need you fighting fit by
innaugeration.” In describing the program to PERSON TEN, WATKINS said, “It’s a military
style basic, here in Ohio, with a Marine Drill Sergeant running it. An hour north of Columbus
Ohiof[.]”

41. On November 9, 2020, WATKINS asked a recruit if he could “download an App
called Zello” and stated, “We all use Zello though for operations.”

42. On November 17, 2020, when a recruit asked WATKINS for her predictions for
2021, WATKINS replied, among other statements:

I can’t predict. I don’t underestimate the resolve of the Deep State. Biden may still

yet be our President. If he is, our way of life as we know it is over. Our Republic

would be over. Then it is our duty as Americans to fight, kill and die for our rights.
and:

[I]f Biden get the steal, none of us have a chance in my mind. We already have our
neck in the noose. They just haven’t kicked the chair yet.

43. On November 23, 2020, CALDWELL sent a text message to WATKINS stating:

Hi, CAP! Wanted to tell you it was great to have you here in Virginia. Don’t know
what [PERSON ONE] is cooking up but I am hearing rumblings of another Maga

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March 12 December.® I don’t know what will happen but like you IJ am very
worried about the future of our country. Once lawyers get involved all of us normal
people get screwed. I believe we will have to get violent to stop this, especially the
antifa maggots who are sure to come out en masse even if we get the Prez for 4
more years. Stay sharp and we will meet again. You are my kinda person and we
may have to fight next time. I have my own gear, I like to be ON TIME and go
where the enemy is, especially after dark. Keep the faith! Spy.

44. On December 3, 2020, Young emailed the Florida chapter of the Oath Keepers a
membership application and wrote, “looking to get involved in helping....”

45. On December 19, 2020, HACKETT sent an email to Young with a subject line
“test.” The body of the email stated: “I believe we only need to do this when important info is at
hand like locations, identities, Ops planning.” The email had a photo attached; the photo showed
cursive handwriting on a lined notepad that stated: “Secure Comms Test. Good talk tonight guys!
Rally Point in Northern Port Charlotte at Grays if transportation is possible. All proton mails.’
May consider an RP® that won’t burn anyone. Comms — work in progress. Messages in cursive
to eliminate digital reads. Plans for recruitment and meetings.”

46. |OnDecember 19, 2020, Young wrote to a Facebook group: “Please check out Oath
Keepers as a means to get more involved. Recruiting is under way. DM me if you want more
info.”

47. On December 22, 2020, Young made plans to fly from Florida to North Carolina

on January 4, 2021, with a return trip on January 8, 2021.

 

6 An event colloquially referred to as the “Million MAGA March” occurred in Washington,
D.C., on November 14, 2020. A similar event occurred in Washington, D.C., on December 12,
2020.

7 The term “proton mails” refers to the company “ProtonMail,” which offers encrypted
email services.

8 “RP” stands for “rally point.”

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48. On December 22, 2020, KELLY MEGGS wrote a series of messages on Facebook
to another individual that read in part:

a. “Trump said It’s gonna be wild!!!'1"! It’s gonna be wild!!!!!!! He wants us to
make it WILD that’s what he’s saying. He called us all to the Capitol and wants us
to make it wild!!! Sir Yes Sir!!! Gentlemen we are heading to DC pack your shit!!”

b. “Nice, we will have at least 50-100 OK® there.”

49. On December 25, 2020, KELLY MEGGS wrote a message on Facebook that said
in relevant part: “I was named State lead of Florida today.”

50. On December 25, 2020, KELLY MEGGS wrote a message on Facebook that said
in relevant part: “We are all staying in DC near the Capitol we are at the Hilton garden inn but I
think it’s full. Dc is no guns. So mace and gas masks, some batons. If you have armor that’s
good.”

51. On December 26, 2020, Young wrote an email to a Florida company that conducts
training on firearms and combat. Young wrote, in part, “I trained with you not long ago. Since
then I have joined Oath Keepers. I recommended your training to the team. To that effect, four
of us would like to train with you, specifically in your UTM" rifle class.”

52. On December 26 and 27, 2020, WATKINS and BENNIE PARKER exchanged text
messages relating to preparations for the trip to Washington, D.C., on January 6, 2021. BENNIE
PARKER also texted WATKINS, “I may have to see what it takes to join your militia, ours is

about gone.”

 

? “OK” stands for “Oath Keepers.”

10 <(JTM” stands for “Ultimate Training Munitions.”

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53. On December 29, 2020, WATKINS sent text messages to CROWL sharing her
plans to go to Washington, D.C., for the events of January 6, 2021.

54. On December 29 and 30, 2020, WATKINS and BENNIE PARKER exchanged text
messages in which they discussed Oath Keeper membership and meeting in advance to prepare for
the trip to Washington, D.C., on January 6, 2021.

55. | On December 30, 2020, CALDWELL wrote in a Facebook post: “THIS IS OUR
CALL TO ACTION, FREINDS! SEE YOU ON THE 6TH IN WASHINGTON, D.C. ALONG
WITH 2 MILLION OTHER LIKE-MINDED PATRIOTS.”

56. On December 30, 2020, WATKINS and CALDWELL exchanged the following

text messages:

WATKINS: Looks like we are greenlight to come to DC on the 6th. The Rally
Point still at your place?

CALDWELL: Not that I am aware. Have been contacted by NO ONE. Typical
[PERSON ONE}. Here’s the rub: [PERSON TWO] and I will be in
a hotel within striking distance of the city starting on the 4th so we
won’t even BE here. There will be some stuff going on during the
5th and we want to be a part of that whenever it shakes out. Also
we want to be in D.C. very early on the 6th, hence closer/virtually
no commute time.

WATKINS: We planned on arriving on the 5th. We want to be in DC by 9am on
the 6th. I will reach out to [PERSON THREE], and see if NC boys
are coming. If [PERSON ONE] isn’t making plans, Ill take charge
myself, and get the ball rolling. I think the Metro is smarter than
convoy/parking issues. Do you want us to stage ourselves vehicles
elsewhere, seeing how you’re going to be gone? We can go toa
KOA Campground or something...

CALDWELL (about two hours later):
Talked to [PERSON THREE]. At least one full bus 40+ people

coming from N.C. Another group (unclear if Mississippi guys) also
a bus. Busses have their own lane on the 14th street bridge so they

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will be able to get in and out. [PERSON THREE] is driving plus |
and arriving nite before. As we speak he is trying to book a room at
Comfort Inn Ballston/Arlington because of its close-in location and
easy access to downtown because he feels 1) he’s too broken down
to be on the ground all day and 2) he is committed to being the quick
reaction force anf bringing the tools if something goes to hell. That
way the boys don’t have to try to schlep weps on the bus. He’ll
bring them in his truck day before. Just got a text from him he WAS
able to book a room in that hotel I recommended which is on Glebe
Road in Arlington. However it goes it will be great to see you again!
I sure hope your arm is getting better!

57. On December 31, 2020, CALDWELL replied to a Facebook comment, writing, “It
begins for real Jan 5 and 6 on Washington D.C. when we mobilize in the streets. Let them try to
certify some crud on capitol hill with a million or more patriots in the streets. This kettle is set to
boil...”

58. On December 31, 2020, when invited to a “leadership only” conference call on
Signal for the “DC op,” WATKINS said she would try to make it if her work obligations permitted.

59. At least as early as December 31, 2020, WATKINS, KELLY MEGGS, JAMES,
MINUTA, HACKETT, ULRICH, Grods, PERSON ONE, PERSON THREE, PERSON TEN, and
others known and unknown joined an invitation-only encrypted Signal group message titled “DC
OP: Jan 6 21” (hereinafter the “Leadership Signal Chat”).

60. On December 31, 2020, ULRICH messaged the Leadership Signal Chat, “The more
patriots the merrier ‘gonna be wild.’” ULRICH later messaged, “Someone can tell me if I’m crazy
but I’m planning on having a backpack for regular use and then a separate backpack with my

ammo load out with some basics that I can juyst switch too is shit truly the fan blades...” ULRICH

then added, “I will be the guy running around with the budget AR.”

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61. On December 31, 2020, KELLY MEGGS wrote a series of messages to another
person on Facebook that said, “You guys Gonna carry?” and “Ok we aren’t either, we have a heavy
QRF 10 Min out though.”

62. On December 31, 2020, another individual contacted JAMES via Signal and stated:
“i have friends not far from DC with a lot of weapons and ammo if you get un trouble i ca.
Coordinate help.” JAMES responded, “That might be helpful, but we have a shitload of QRF on
standby with an arsenal.”

63. On December 31, 2020, KELLY MEGGS, HARRELSON, DOLAN,
MOERSCHEL, Berry, and about 11 other participants attended a GoToMeeting titled “florida de
op planning chat.” HARRELSON was the organizer of the meeting.

64. About half an hour later, on December 31, 2020, KELLY MEGGS, JAMES, Grods,
and PERSON NINETEEN were the four participants of a GoToMeeting titled “SE leaders dc
1/6/21 op call.” KELLY MEGGS was the organizer of the meeting.

65. On December 31, 2020, JAMES messaged PERSON NINETEEN and asked, “Do
we have a farm location for weapons?” PERSON NINETEEN responded, “Not that I am aware
of yet. If nothing else, my hotel is in VA and has secured underground parking. About 15-20
minutes outside DC, less if you really don’t care about speed limits... would be great if we had
someone with an enclosed truck type vehicle and had a quick response unit just outside the city.”
JAMES replied, “I agree.”

66. On January 1, 2021, ULRICH messaged JAMES on Signal and asked, “Hey we
told to bring guns and maybe stage them in VA?? But you are showing hotels in DC for Alabama.
Are we bring guns or no if so how will that work?” JAMES responded, “Were working on a Farm

location Some are bringing long rifles some sidearms... I’m bringing sidearm.”

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67. On January 1, 2021, CALDWELL replied to a Facebook comment, writing, “I
accept that assignment! I swore to support and defend the Constitution of the United States against
all enemies foreign and domestic. I did the former, I have done the latter peacefully but they have
morphed into pure evil even blatantly rigging an election and paying off the political caste. We
must smite them now and drive them down.”

68. On January 1, 2021, CROWL sent CALDWELL a Facebook message stating,
“Happy New year, to you Sir!! Guess I’ll be seeing you soon. Will probably call you
tomorrow...mainly because...I like to know wtf plan is. You are the man Commander.”

69. On January 1, 2021, CALDWELL wrote to CROWL, “Check with Cap. I
recommended the following hotel to her which STILL has rooms (unbelieveble).” CALDWELL
then sent a link to the Comfort Inn Ballston, the same hotel that he recommended to others on
January 1. CALDWELL continued,

[PERSON TWO] and I are setting up shop there. [PERSON THREE] has a room

and is bringing someone. He will be the quick reaction force. Its going to be cold.

We need a place to spend the night before minimum. [PERSON ONE] never

contacted me so [PERSON TWO] and I are going our way. I will probably do pre-

strike on the 5th though there are things going on that day. Maybe can do some

night hunting. Oathkeeper friends from North Carolina are taking commercial

buses up early in the morning on the 6th and back same night. [PERSON THREE]

will have the goodies in case things go bad and we need to get heavy.

70. On January 1, 2021, CROWL and WATKINS made plans to travel by car to
Washington, D.C., to attend the events of January 5-6, 2021.

71. Beginning on January 1, and continuing into January 2, 2021, CALDWELL and
CROWL exchanged messages about the hotel where they planned to stay in Arlington, Virginia,
and CALDWELL told CROWL: “This is a good location and would allow us to hunt at night if

we wanted to. I don’t know if [PERSON ONE] has even gotten out his call to arms but its a little

friggin late. This is one we are doing on our own. We will link up with the north carolina crew.”

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72. On January 2, 2021, Grods messaged JAMES on Signal and asked, “So, I guess I
am taking full gear less weapons? Just reading through all the posts. Would rather have it and not
need it.” JAMES responded, “Yeah full gear... QRF will have weapons Just leave em home.”

73. On the evening of January 2, 2021, at about 5:43 p.m., KELLY MEGGS posted a
map of Washington, D.C., in the Leadership Signal Chat, along with the message, “1 if by land[,]
North side of Lincoln Memorial[,] 2 if by sea[,] Corner of west basin and Ohio is a water transport
landing !!” KELLY MEGGS continued, “QRF rally points[.] Water of the bridges get closed.”

74. On January 3, 2021, STEELE emailed the Florida chapter of the Oath Keepers a
membership application and wrote, “My brother, Graydon Young told me to submit my application
this route to expedite the process.” Later in the day, STEELE emailed KELLY MEGGS and wrote,
“My brother, Graydon Young told me to send the application to you so I can be verified for the
Events this coming Tuesday and Wednesday.” The following day, STEELE sent an email to an
Oath Keepers address, copying both Young and KELLY MEGGS, attaching her Florida Oath
Keepers membership application and vetting form, and writing, “I was just requested to send my
documents to this email.”

75. On January 3, 2021, WATKINS sent CROWL a Facebook message stating,
“Running a bit behind. I’Il txt when I’m back at the bar. Getting supplies for DC.”

76. On January 3, 2021, WATKINS and BENNIE PARKER discussed the uniforms,
gear, and weapons they would wear and bring on January 6, 2021:

WATKINS to BENNIE PARKER: We are not bringing firearms. QRF
will be our Law Enforcement
members of Oathkeepers.

BENNIE PARKER to WATKINS: Good to know.

WATKINS to BENNIE PARKER: Pack Khaki/Tan pants. Weapons are
ok now as well. Sorry for the

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confusion. We are packing the car
and heading your way shortly

BENNIE PARKER to WATKINS: We don’t have any khakis We have
jeans and our b d u’s!! So I can bring

my gun?

77. On January 3, 2021, KELLY MEGGS and HARRELSON served as two of the
three “organizers” of an 18-participant GoToMeeting titled “de planning call.” DOLAN,
MOERSCHEL, Berry, and others known and unknown attended this call.

78. At least as early as January 3, 2021, WATKINS, KELLY MEGGS, Young,
HARRELSON, HACKETT, DOLAN, ISAACS, MOERSCHEL, Berry, and others known and
unknown joined an invitation-only encrypted Signal group message titled “OK FL DC OP Jan 6”
(hereinafter the “Florida Signal Chat”).

79. On January 3, 2021, KELLY MEGGS added HARRELSON to the Leadership
Signal Chat, and wrote that HARRELSON would serve as the “Ground Team lead in Florida.”

80. On January 4, 2021, CALDWELL emailed PERSON THREE several maps along
with the message, “These maps walk you from the hotel into D.C. and east toward the target area
on multiple roads running west to east including M street and P street, two of my favorites... .”

81. Sometime on or before January 5, 2021, WALDEN applied to be part of the January
6 operation, stating in an email:

I am interested in the QRF team in D.C. I am former Firefighter, EMT-B and have

a K-9 trained for security patrol (82 lb. German Shepherd named ‘ Warrior’). I have

a Jump Bag with Trauma supplies and have ALL the necessary 2A gear that the

situation may require. PLEASE ADVISE. As soon as I hear from you I can hit the

road to join up! Jonathan Walden

WALDEN’s name was followed by a phone number.

 

| “B D.U.” stands for Battle Dress Uniform, which is a camouflaged military combat
uniform.

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82. A document saved on JAMES’s phone had WALDEN’s application note and a
message that stated, “Jonathan Walden below is all clear but when I sent return email with burner
phone number it was returned so may have to call him.”

Travel to Washington, D.C., for the January 6 Operation

83. On January 4, 2021, KELLY MEGGS wrote in the Florida Signal Chat, “Rally 3
pm if possible and need location DM but only those who will caravan.”

84, On January 4, 2021, HARRELSON and DOLAN departed Florida together in a
vehicle rented by DOLAN and traveled to the Washington, D.C., metropolitan area.

85. On January 4, 2021, Young took a flight from Sarasota, Florida, to Greensboro,
North Carolina.

86. On January 4, 2021, CROWL, WATKINS, SANDRA PARKER, and BENNIE
PARKER departed Ohio together and traveled to Northern Virginia, where they spent the night.

87. On January 4, 2021, JAMES, Grods, ULRICH, PERSON TWENTY, and others
traveled from Alabama and Georgia together to the Washington, D.C., metropolitan area.

88. On January 4, 2021, PERSON TEN checked into the Hilton Garden Inn in Vienna,
Virginia. The room was reserved and paid for using a credit card in PERSON ONE’s name.

89. On January 4, 2021, WATKINS wrote in the Florida Signal Chat, “Where can we
drop off weapons to the QRF team? I’d like to have the weapons secured prior to the Op
tomorrow.”

90. Onthe morning of January 5, 2021, HARRELSON asked in the Florida Signal Chat
for the location of the “QRF hotel,” and KELLY MEGGS responded by asking for a direct

message.

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91. On January 5, 2021, PERSON ONE and MINUTA separately traveled to the
Washington, D.C., metropolitan area and checked into the Hilton Garden Inn in Vienna, Virginia.

92. On January 5, 2021, Young and STEELE departed North Carolina with others
known and unknown and traveled to the Washington D.C., metropolitan area and checked into the
Holiday Inn in Springfield, Virginia.

93. CALDWELL paid for a room for two people at the Comfort Inn Ballston from
January 5-7, 2021.

94. | WATKINS paid for a room for two people at the Comfort Inn Ballston—the hotel
recommended by CALDWELL—from January 5-7, 2021, and reserved it under the name “Jessica
Wagkins.”

95. SANDRA PARKER paid for a room for two people at the Comfort Inn Ballston
from January 5-7, 2021.

96. KELLY MEGGS paid for two rooms, each for two people, at the Comfort Inn
Ballston from January 5-6, 2021. The rooms were reserved under the name of PERSON THREE.

97. KELLY MEGGS also booked two rooms at the Hilton Garden Inn in Washington,
D.C., from January 5-7, 2021. KELLY MEGGS paid for both of the rooms, using two different
credit cards.

98. Young paid for a room for two people at the Holiday Inn in Springfield, Virginia,
from January 5-6, 2021.

99. HACKETT paid for a room at the Hilton Garden Inn in Washington, D.C., from
January 5-7, 2021. The room was booked in the name of PERSON SIXTEEN.

100. DOLAN booked and paid for a room at the Hilton Garden Inn in Washington, D.C.,

from January 5-7, 2021.

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101. MINUTA, using his personal email address and his personal home address,
reserved three rooms at the Mayflower Hotel in Washington, D.C., under the names of MINUTA,
JAMES, and PERSON TWENTY. Grods paid for the room reserved under MINUTA’s name. A
credit card associated with JAMES was used to pay for the room reserved under JAMES’s name.
WALDEN, Grods, ULRICH, PERSON TWENTY, and others stayed in these rooms at the
Mayflower Hotel. MINUTA and JAMES stayed at the Hilton Garden Inn in Vienna, Virginia,
where PERSON ONE stayed..

The January 6 Operation

102. On the morning of January 6, 2021, Young and STEELE traveled together from
Springfield, Virginia, to Washington, D.C.

103. On the morning of January 6, 2021, CROWL, WATKINS, CALDWELL,
SANDRA PARKER, and BENNIE PARKER, traveled from Arlington, Virginia, to Washington,
D.C.

104. At9:36a.m., WALDEN texted JAMES, “Willard hotel?” At 9:51 a.m., WALDEN
placed a phone call to JAMES, which is recorded as missed. At 9:52 am., WALDEN texted
JAMES, “I’m here, awaiting instruction.” At 10:37 am., JAMES placed a phone call to
WALDEN, which lasted 2 seconds.

105. At 11:21 am., PERSON ONE placed a phone call to KELLY MEGGS, which
lasted 51 seconds.

106. At or around this time, CROWL, WATKINS, SANDRA PARKER, BENNIE
PARKER, Young, STEELE, KELLY MEGGS, CONNIE MEGGS, HACKETT, MOERSCHEL,
and Berry prepared themselves for battle before heading to the Capitol by equipping themselves

with communication devices and donning reinforced vests, helmets, and goggles.

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107. At 12:58 p.m., MINUTA placed a phone call to PERSON ONE, which lasted
approximately | minute and 11 seconds.

108. At 1:02 p.m., PERSON ONE placed a phone call to MINUTA, which lasted
approximately 1 minute and 48 seconds.

109. At 1:25 p.m., PERSON ONE messaged the Leadership Signal Chat, “Pence is doing
nothing. As I predicted.” About 15 minutes later, he sent another message, stating, “All I see
Trump doing is complaining. I see no intent by him to do anything. So the patriots are taking it
into their own hands. They’ve had enough.”

110. At 1:48 p.m., PERSON ONE sent a message to the Leadership Signal Chat
informing the group that he was on his way to the Capitol.

111. At 1:50 p.m., WATKINS transmitted a communication over Zello” stating, “We
have a good group. We have about 30-40 of us. We are sticking together and sticking to the plan.”

112. At1:52 p.m., HARRELSON and DOLAN unlawfully entered the restricted Capitol
grounds.

113. At 1:59 p.m., PERSON TEN placed a phone call to JAMES, which lasted
approximately 30 seconds.

114. At 2:00 p.m., JAMES placed a phone call to PERSON TEN, which lasted
approximately 1 minute and 12 seconds.

115. At 2:00 p.m., WATKINS stated on the “Stop the Steal J6” Zello channel, “Yall,
we’re one block away from the Capitol right now. I’m probably gonna go silent when we get

there, because I’m gonna be a little busy.”

 

2 On January 6, 2021, WATKINS and others known and unknown communicated and
coordinated their actions on Zello, using a Zello channel named “Stop the Steal J6.”

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116. At 2:01 p.m., PERSON TEN placed a phone call to PERSON ONE, which lasted
approximately ] minute and 41 seconds.

117. At2:02 p.m., HARRELSON and DOLAN joined the crowd on the central east steps
of the Capitol. A minute later, DOLAN maneuvered his way to the front of the crowd and pulled
on the arm of one of the Capitol Police officers who had reformulated a line on the steps and were
trying to keep the crowd at bay. The officer pushed DOLAN away. DOLAN and HARRELSON
remained on the steps as the crowd pushed the police line farther and farther back up the steps
towards the east side Rotunda doors.

118. At 2:03 p.m., PERSON TEN placed a phone call to JAMES, which lasted
approximately 39 seconds. About 1 minute later, JAMES placed a phone call to PERSON TEN,
which lasted approximately 3 minutes and 36 seconds.

119. At2:03 p.m., the administrator of the “Stop the Steal J6” Zello channel directed the
group, “You are executing citizen’s arrest. Arrest this assembly, we have probable cause for acts
of treason, election fraud... .”

120. At 2:06 p.m., PERSON ONE sent another message to the Leadership Signal Chat
asking for PERSON TEN’s location before stating, “I’m trying to get to you.”

121. At 2:06 p.m., CALDWELL sent WATKINS a text message stating: “Where are
you? Pence has punked out. We are screwed. Teargassing peaceful protesters at capital steps.
Getting rowdy here... I am here at the dry fountain to the left of the Capitoll[.]”

122. At 2:07 p.m., JAMES placed a phone call to PERSON TEN, which lasted
approximately 30 seconds, followed by an approximately 55-second phone call at 2:10 p.m.

123. At 2:13 p.m., PERSON TEN placed a phone call to JAMES, which lasted

approximately 43 seconds.

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124. At2:14p.m., PERSON TEN wrote to the Leadership Signal Chat, “The have taken
ground at the capital[.] We need to regroup any members who are not on mission.”

125. At2:15 p.m., PERSON ONE placed a phone call to KELLY MEGGS, which lasted
approximately 15 seconds.

126. At 2:16 p.m., PERSON TEN placed a phone call to JAMES, which lasted
approximately 42 seconds.

127. At about this time, JAMES, MINUTA, ULRICH, Grods, PERSON TWENTY
became aware that individuals had breached the Capitol. MINUTA got excited and stated words
to the effect of, “Now we’re talking, that’s what I came up here for!” JAMES then instructed the
group to get their gear and get ready to head to the Capitol. MINUTA donned battle apparel and
gear, including hard-knuckle tactical gloves, ballistic goggles, a tactical vest, a radio with an ear
piece, and bear spray. JAMES wore a black neck gaiter, tactical gloves, a long-sleeved combat
shirt, a backpack, a paracord attachment, fatigues, and boots. ULRICH was equipped with a body
camera and wore a dark-colored neck gaiter and goggles. Grods donned a royal blue neck gaiter,
hoodie, gloves, and a large stick. The group departed their hotel and headed towards the Capitol.

128. On the way, this group met up with WALDEN, who was equipped with goggles,
scissors, a tactical vest with attachments, gloves, a backpack, fatigues, boots, and his dog, an 82-
pound German Shepherd named “Warrior.”

129. At 2:22 pm. CROWL, WATKINS, SANDRA PARKER, BENNIE PARKER,
Young, STEELE, KELLY MEGGS, CONNIE MEGGS, HACKETT, ISAACS, MOERSCHEL,
and Berry unlawfully entered the restricted Capitol grounds. Shortly thereafter, the group paused

and gathered in a circle.

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130. At 2:24 p.m., PERSON ONE placed a phone call to KELLY MEGGS, but the call
went to voicemail.

131. At 2:24 p.m., PERSON ONE sent KELLY MEGGS a message stating, “Go to
SOUTH side of US Capitol,” followed by another message stating, “That’s where I am going. To
link up with [PERSON TEN.]”

132. At 2:25 p.m., PERSON ONE forwarded PERSON TEN’s message (“The have
taken ground at the capital[.] We need to regroup any members who are not on mission.”) to the
Leadership Signal Chat and instructed: “Come to South Side of Capitol on steps” and then sent a
photograph showing the southeast side of the Capitol.

133. At 2:26 p.m., CROWL, WATKINS, SANDRA PARKER, BENNIE PARKER,
Young, STEELE, KELLY MEGGS, CONNIE MEGGS, HACKETT, ISAACS, MOERSCHEL,
and Berry continued walking northbound along the exterior of the Capitol. They then turned right
and entered the plaza in front of the east side of the Capitol.

134. At 2:31 p.m., PERSON TEN placed a phone call to PERSON ONE, which lasted
approximately 5 minutes and 25 seconds.

135. At 2:32 p.m., KELLY MEGGS placed a phone call to PERSON ONE, who was
already on the phone with PERSON TEN. PERSON ONE conferenced in KELLY MEGGS.
KELLY MEGGS’ call to PERSON ONE lasted approximately 1 minute and 37 seconds.

136. Between 2:30 and 2:33 p.m., MINUTA, JAMES, WALDEN, ULRICH, Grods, and
PERSON TWENTY rode in a pair of golf carts towards the Capitol, at times swerving around law
enforcement vehicles, with MINUTA stating:

Patriots are storming the Capitol building; there’s violence against patriots by the

D.C. Police; so we’re en route in a grand theft auto golf cart to the Capitol building
right now .. . it’s going down, guys; it’s literally going down right now Patriots

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storming the Capitol building . . . fucking war in the streets right now . . . word is
they got in the building .. . let’s go.

137. At 2:33 p.m., MINUTA, JAMES, WALDEN, ULRICH, Grods, and PERSON
TWENTY parked the golf carts near the intersection of Third Street and Pennsylvania Avenue,
Northwest. They then continued on foot towards the Capitol, frequently moving in a stack
formation to maneuver through the crowd.

138. At 2:33 p.m., JAMES placed a phone call to PERSON TEN, which lasted
approximately 49 seconds.

139. Sometime after 2:33 p.m., MINUTA, with JAMES, WALDEN, ULRICH, Grods,
and PERSON TWENTY standing by, aggressively berated and taunted law enforcement officers
in riot gear guarding the perimeter of the Capitol building, near the east side of the building.

140. At 2:35 pm., CROWL, WATKINS, SANDRA PARKER, Young, STEELE,
KELLY MEGGS, CONNIE MEGGS, HACKETT, ISAACS, MOERSCHEL, and Berry joined
together with others known and unknown to form a column or stack of individuals wearing Oath
Keepers clothing, patches, insignia, and battle gear (the “Stack”). Together, the Stack maneuvered
in an organized fashion up the steps on the east side of the Capitol—each member keeping at least
one hand on the shoulder of the other in front of them.

141. Towards the top of the steps, HARRELSON and DOLAN joined the Stack.

142. At the top of the steps, the Stack joined and then pushed forward alongside a mob
that aggressively advanced towards the east side Rotunda doors at the central east entrance to the
Capitol, assaulted the officers guarding the doors, threw objects and sprayed chemicals towards

the officers and the doors, and pulled violently on the doors.

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143. At2:39 p.m., ISAACS joined the crowd in forcibly pushing against one of the east
side Rotunda doors and the law enforcement officers guarding that door. Shortly thereafter, the
Capitol doors were breached by the mob, and ISAACS entered the building.

144. About a minute later, CROWL, WATKINS, SANDRA PARKER, Young,
STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, HACKETT, DOLAN,
MOERSCHEL, Berry, and the others in the Stack forcibly entered the Capitol.

145. As they entered the Capitol, CROWL, WATKINS, SANDRA PARKER, Young,
STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, HACKETT, DOLAN,
MOERSCHEL, Berry, and the others in the Stack joined the larger mob in pushing past at least
one law enforcement officer who was trying to stop them from breaching the Capitol building.

146. After they penetrated the Capitol building, CROWL, WATKINS, SANDRA
PARKER, Young, STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, HACKETT,
DOLAN, ISAACS, MOERSCHEL, Berry, and the others in the Stack collectively moved into an
area inside the building known as the Capitol Rotunda.

147. As they navigated through the Capitol Rotunda, CROWL, WATKINS, SANDRA
PARKER, Young, STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, HACKETT,
DOLAN, ISAACS, MOERSCHEL, Berry, and the others in the Stack continued to communicate
with one another by keeping their hands on each other’s backs.

148. At2:44 p.m., WATKINS stated on the “Stop the Steal J6” Zello channel, “We are
in the mezzanine. We are in the main dome right now. We are rocking it. They are throwing

grenades, they are fricking shooting people with paint balls. But we are in here.”

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149. An individual who had participated in at least one prior Oath Keeper operation with
WATKINS responded, “Get it, Jess. Do your fucking thing. This is what we fucking

[unintelligible] up for. Everything we fucking trained for.”

150. Shortly thereafter, WATKINS, CROWL, SANDRA PARKER, Young, STEELE,
and ISAACS exited the Rotunda through the northbound hallway and attempted to enter the Senate
wing of Congress.

151. ISAACS yelled “the fight’s not over” and waved rioters down the hallways towards
the Senate.

152. At 2:45 p.m. and afterward, CROWL, WATKINS, SANDRA PARKER, Young,

STEELE, and ISAACS joined the mob in pushing against a line of riot police officers guarding

 

the hallway connecting the Rotunda to the Senate, as WATKINS commanded those around her to

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“push, push, push,” and to, “get in there, get in there,” while noting, “they [the officers] can’t hold

”

us.

153. When officers responded by deploying a chemical spray, the mob—including

CROWL, WATKINS, SANDRA PARKER, Young, STEELE, and ISAACS—tetreated.

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154. CROWL, WATKINS, SANDRA PARKER, Young, STEELE, and ISAACS

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regrouped in the Rotunda.

155. At 2:45 p.m., KELLY MEGGS, CONNIE MEGGS, HARRELSON, HACKETT,
DOLAN, MOERSCHEL, and Berry walked southbound out of the Rotunda and towards the House
of Representatives.

156. Meanwhile, CALDWELL, who was positioned on the west side of the Capitol,
joined with PERSON TWO and others known and unknown in storming past barricades and

| _ _ climbing stairs up to a balcony in the restricted area on the west side of the Capitol building.
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157. At2:48 p.m., CALDWELL sent a message on Facebook, writing, “We are surging
forward. Doors breached[.]”

158. At 2:54 p.m., HACKETT and MOERSCHEL exited the Capitol.

159. At2:57 p.m., HARRELSON and DOLAN exited the Capitol.

160. At2:59 p.m., KELLY MEGGS, CONNIE MEGGS, and Berry exited the Capitol.

161. At 3:05 p.m., CROWL, WATKINS, SANDRA PARKER, Young, and STEELE
helped ISAACS out of the Capitol.

162. At around this time, JAMES said something to the effect of “they’re going in over
there, let’s go! Let’s get up there!” JAMES then led MINUTA, WALDEN, ULRICH, and Grods
to the same east side Rotunda doors that members of the Stack had entered about 35 minutes
earlier.

163. At 3:15 p.m., MINUTA, JAMES, and WALDEN forcibly entered the Capitol
building through the east side Rotunda doors. Before entering, JAMES stated, “We’re going in,”
and MINUTA responded, “Hell yeah!” When he entered the Capitol, MINUTA was still armed
with the bear spray and other tactical gear. WALDEN brought his dog inside the Capitol.

164. While entering the Capitol building, MINUTA and JAMES pushed past Capitol
Police officers who placed their hands on MINUTA and JAMES in an unsuccessful attempt to
stop them from advancing toward the Capitol Rotunda.

165. At 3:17 p.m., when MINUTA and JAMES reached the entrance to the Capitol
Rotunda, they joined with others in the crowd in a confrontation with a line of law enforcement
officers that had formed a barrier between the lobby and the Capitol Rotunda. JAMES yanked and

pushed several of the riot officers out of the way. While engaging in this conduct, JAMES

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repeatedly yelled, “Get out of my Capitol!” and “This is my fucking building! This is not yours!
This is my Capitol!”

166. As he stood behind JAMES while recording the events with a camera, MINUTA
yelled, “This is what’s bound to happen, just get out! Get out! Get these cops out! It’s our fucking
building! Get ‘em out, get out!”

167. JAMES briefly breached the Rotunda but was expelled by at least one officer who
aimed chemical spray directly at JAMES, and multiple officers who pushed him out from behind.

168. At3:19 p.m., while exiting the Capitol building through the same east side Rotunda
door from which he entered, MINUTA held up two fingers and yelled at a law enforcement officer,
among other things, “All that’s left is the Second Amendment!”

169. At 3:21 p.m., Grods and ULRICH entered the east side Rotunda Doors. Grods
walked a few feet into the building but then turned around and stood at the doorway.

170. At 3:22 p.m., JAMES exited the Capitol through the east side Rotunda door from
which he entered.

171. At3:24p.m., a line of law enforcement officers surged forward from the Rotunda
and tried to push the people in the lobby out of the Capitol through the east side Rotunda doors.
Grods moved away from the doorway at this time. ULRICH pushed his way to stay inside.

172. At3:33 p.m., ULRICH exited the Capitol through the east side Rotunda doors from
which he entered.

173. At 3:35 p.m., WALDEN and his dog exited the Capitol through the east side
Rotunda doors from which he entered.

174. At 3:40 p.m., JAMES placed a phone call to PERSON TEN, which lasted

approximately 3 minutes and 4 seconds.

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175. At 4:04 p.m., MINUTA placed a phone call to PERSON ONE, which lasted
approximately 42 seconds.

176. At 4:05 p.m., PERSON ONE placed a phone call to MINUTA, which lasted
approximately 2 minutes and 56 seconds.

177. Shortly after 4:00 p.m., individuals who breached the Capitol, to include YOUNG,
STEELE, KELLY MEGGS, CONNIE MEGGS, HARRELSON, MINUTA, JAMES, WALDEN,
HACKETT, DOLAN, ISAACS, MOERSCHEL, Berry, ULRICH, Grods, among others, gathered
together with PERSON ONE and PERSON TEN approximately 100 feet from the Capitol, near
the northeast corner of the building.

(in violation of Title 18, United States Code, Section 371)

COUNT TWO :
(18 U.S.C. §§ 1512(c)(2), 2—Obstruction of an Official Proceeding and
Aiding and Abetting)

178. Paragraphs | through 34 and paragraphs 39 through 174 of this Indictment are re-
alleged and incorporated as though set forth herein.
179. As set forth in paragraphs 39 through 174, on or about January 6, 2021, in the

District of Columbia and elsewhere, the defendants,

THOMAS CALDWELL,
DONOVAN CROWL,
JESSICA WATKINS,

SANDRA PARKER,
BENNIE PARKER,
LAURA STEELE,
KELLY MEGGS,
CONNIE MEGGS,
KENNETH HARRELSON,
ROBERTO MINUTA,
JOSHUA JAMES,

JONATHAN WALDEN,
JOSEPH HACKETT,

JASON DOLAN,

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WILLIAM ISAACS,
DAVID MOERSCHEL, and
BRIAN ULRICH,
attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, the
Certification of the Electoral College vote, and did aid and abet others known and unknown to do

the same.

(In violation of Title 18, United States Code, Sections 1512(c)(2), 2)

COUNT THREE
(18 U.S.C. §§ 1361, 2—Destruction of Government Property and Aiding and Abetting)

180. Paragraphs 1 through 34 and paragraphs 39 through 177 of this Indictment are re-
alleged and incorporated as though set forth herein.

181. As set forth in paragraphs 142 through 143, on January 6, 2021, in the District of
Columbia and elsewhere, the defendants,

DONOVAN CROWL,
JESSICA WATKINS,
SANDRA PARKER,
LAURA STEELE,
KELLY MEGGS,
CONNIE MEGGS,
KENNETH HARRELSON,
JOSEPH HACKETT,
JASON DOLAN,
WILLIAM ISAACS, and
DAVID MOERSCHEL,

attempted to, and did, willfully injure and commit depredation against property of the United
States, that is, the United States Capitol building, thereby causing or attempting to cause damage
that exceeded $1,000, and did aid and abet others known and unknown to do so.

(In violation of Title 18, United States Code, Sections 1361, 2)

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COUNT FOUR
(18 U.S.C. § 1752(a)(1)}—Restricted Building or Grounds)

182. Paragraphs | through 34 and paragraphs 39 through 177 of this Indictment are re-
alleged and incorporated as though set forth herein.

183. As set forth in paragraphs 112, 117, 129, 140-145, 156, 162-164, 169, and 171, on
or about January 6, 2021, in the District of Columbia and elsewhere, the defendants,

THOMAS CALDWELL,
DONOVAN CROWL,
JESSICA WATKINS,

SANDRA PARKER,
BENNIE PARKER,
LAURA STEELE,
KELLY MEGGS,
CONNIE MEGGS,
KENNETH HARRELSON,
ROBERTO MINUTA,
JOSHUA JAMES,

JONATHAN WALDEN,

JOSEPH HACKETT,
JASON DOLAN,
WILLIAM ISAACS,
DAVID MOERSCHEL, and
BRIAN ULRICH,

did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, or otherwise restricted area within the United States Capitol and its grounds, where the Vice
President and Vice President-elect were temporarily visiting, without lawful authority to do so.

(In violation of Title 18, United States Code, Section 1752(a)(1))

COUNT FIVE
(18 U.S.C. §§ 231(a)(3), 2—Civil Disorder and Aiding and Abetting)

184. Paragraphs 1 through 34 and paragraphs 39 through 177 of this Indictment are re-

alleged and incorporated as though set forth herein.

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185. As set forth in paragraph 117, on or about January 6, 2021, within the District of

Columbia, the defendant,
JASON DOLAN,
committed and attempted to commit and aided and abetted others known and unknown to commit
an act to obstruct, impede, and interfere with a law enforcement officer, that is, a U.S. Capitol
Police Officer who was trying to keep the crowd that had broken through the barriers on the east
plaza outside the Capitol from ascending the central east side exterior steps of the Capitol, while
that officer was lawfully engaged in the lawful performance of his official duties incident to and
during the commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely
affected the conduct and performance of a federally protected function.
(in violation of Title 18, United States Code, Sections 231(a)(3), 2)

COUNT SIX
(18 U.S.C. §§ 231(a)(3), 2—-Civil Disorder and Aiding and Abetting)

186. Paragraphs 1 through 34 and paragraphs 39 through 177 of this Indictment are re-
alleged and incorporated as though set forth herein.

187. As set forth in paragraph 143, on or about January 6, 2021, within the District of
Columbia, the defendant,

WILLIAM ISAACS,

committed and attempted to commit and aided and abetted others known and unknown to commit
an act to obstruct, impede, and interfere with a law enforcement officer, that is, U.S. Capitol Police
Officer M.C., while Officer M.C. was lawfully engaged in the lawful performance of his official
duties incident to and during the commission of a civil disorder, and the civil disorder obstructed,
delayed, and adversely affected the conduct and performance of a federally protected function.

(in violation of Title 18, United States Code, Sections 231(a)(3), 2)

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COUNT SEVEN
(18 U.S.C. §§ 231(a)(3), 2—Civil Disorder and Aiding and Abetting)

188. Paragraphs | through 34 and paragraphs 39 through 177 of this Indictment are re-
alleged and incorporated as though set forth herein.

189. Asset forth in paragraphs 150-153, on or about January 6, 2021, within the District

 

 

of Columbia, the defendants,

SRE Ba

JESSICA WATKINS,

DONOVAN CROWL,

i SANDRA PARKER,

: LAURA STEELE, and

WILLIAM ISAACS,

j committed and attempted to commit and aided and abetted others known and unknown to commit
an act to obstruct, impede, and interfere with a law enforcement officer, that is, law enforcement

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officers guarding the hallway between the Capitol Rotunda and Senate chamber, while those

officers were lawfully engaged in the lawful performance of their official duties incident to and

 

during the commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely
affected the conduct and performance of a federally protected function.
(In violation of Title 18, United States Code, Sections 231(a)(3), 2)

COUNT EIGHT
(18 U.S.C. §§ 231(a)(3), 2—Civil Disorder and Aiding and Abetting)

190. Paragraphs 1 through 34 and paragraphs 39 through 177 of this Indictment are re-
alleged and incorporated as though set forth herein.
191. As set forth in paragraphs 165 and 167, on or about January 6, 2021, within the

District of Columbia, the defendant,

 

 

JOSHUA JAMES,

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committed and attempted to commit and aided and abetted others known and unknown to commit
an act to obstruct, impede, and interfere with a law enforcement officer, that is, law enforcement
officers in the Capitol Rotunda, while those officers were lawfully engaged in the lawful
performance of their official duties incident to and during the commission of a civil disorder, and
the civil disorder obstructed, delayed, and adversely affected the conduct and performance of a
federally protected function.
(In violation of Title 18, United States Code, Sections 231(a)(3), 2)
COUNT NINE

(18 U.S.C. § 111(a)(1)-—Assaulting, Resisting, or Impeding Certain Officers)

192. Paragraphs 1 through 34 and paragraphs 39 through 177 of this Indictment are re-
alleged and incorporated as though set forth herein.

193. As set forth in paragraphs 165 and 167, on or about January 6, 2021, within the
District of Columbia, the defendant,

JOSHUA JAMES,

did forcibly assault, resist, oppose, impede, intimidate, and interfere with an officer with the
District of Columbia Metropolitan Police Department who was assisting officers and employees
of the United States while such persons were engaged in and on account of the performance of
official duties, and where the acts in violation of this section involved physical contact with the
victim and the intent to commit another felony, namely, Count Two, charging Obstruction of an
Official Proceeding and Aiding and Abetting, in violation of Title 18, United States Code, Sections
1512(c)(2), 2.

(In violation of Title 18, United States Code, Section 111(a)(1))

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COUNT TEN
(18 U.S.C. § 1512(c)(1)}—Tampering with Documents or Proceedings)

194. Paragraphs | through 34 and paragraphs 39 through 177 of this Indictment are re-
alleged and incorporated as though set forth herein.

195. On January 6, 2021, the Federal Bureau of Investigation (“FBI”) opened an
investigation into the attack on the Capitol, and a grand jury of the United States District Court for
the District of Columbia subsequently opened an investigation.

196. On January 8, 2021, in response to a request from CROWL for a video,
CALDWELL sent the video, and subsequently unsent the message containing the video.

197. Between January 6, 2021, and January 19, 2021, CALDWELL deleted photographs
from his Facebook account that documented his participation in the attack on the Capitol on
January 6, 2021.

198. Between January 6, 2021, and January 19, 2021, in the District of Columbia and
elsewhere, the defendant,

THOMAS CALDWELL,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, with the intent to impair its integrity and availability for use in an official
proceeding, that is, the grand jury investigation into the attack on the Capitol on January 6, 2021.
(in violation of Title 18, United States Code, Section 1512(c)(1))
COUNT ELEVEN
(18 U.S.C. § 1512(c)(1)—Tampering with Documents or Proceedings)

199. Paragraphs 1 through 34, 39 through 177, and 195, of this Indictment are re-alleged

and incorporated as though set forth herein.

200. Sometime after January 7, 2021, KELLY MEGGS deleted from his cellular

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telephone certain media, files, and communications that showed his involvement in the conduct
alleged herein.

201. On or around January 7, 2021, in the District of Columbia and elsewhere, the
defendant,

KELLY MEGGS,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, with the intent to impair its integrity and availability for use in an official
proceeding, that is, the grand jury investigation into the attack on the Capitol on January 6, 2021.
(In violation of Title 18, United States Code, Section 1512(c)(1))
COUNT TWELVE
(18 U.S.C. § 1512(c)(1)—Tampering with Documents or Proceedings)

202. Paragraphs | through 34, 39 through 177, and 195, of this Indictment are re-alleged
and incorporated as though set forth herein.

203. Sometime after January 7, 2021, HARRELSON deleted from his cellular telephone
certain media, files, and communications that showed his involvement in the conduct alleged
herein.

204. On or around January 7, 2021, in the District of Columbia and elsewhere, the
defendant,

KENNETH HARRELSON,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, with the intent to impair its integrity and availability for use in an official
proceeding, that is, the grand jury investigation into the attack on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Section 1512(c)(1))

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COUNT THIRTEEN
(18 U.S.C. § 1512(c)(1)}—Tampering with Documents or Proceedings)

205. Paragraphs 1 through 34, 39 through 177, and 195, of this Indictment are re-alleged
and incorporated as though set forth herein.

206. Sometime after January 7, 2021, JAMES deleted from his cellular telephone the
Leadership Signal Chat.

207. On January 8, 2021, JAMES instructed Grods to “make sure that all signal comms
about the op has been deleted and burned,” and Grods confirmed that he did in fact do so.

208. On or around January 7-8, 2021, in the District of Columbia and elsewhere, the
defendant,

JOSHUA JAMES,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, with the intent to impair its integrity and availability for use in an official
proceeding, that is, the grand jury investigation into the attack on the Capitol on January 6, 2021.
(In violation of Title 18, United States Code, Section 1512(c)(1))
COUNT FOURTEEN
(18 U.S.C. §§ 1512(c)(1), 2—Tampering with Documents or Proceedings and Aiding and
Abetting)

209. Paragraphs 1 through 34, 39 through 177, and 195, of this Indictment are re-alleged
and incorporated as though set forth herein.

210. On January 7, 2021, STEELE and Young, using a burn pit in STEELE’s backyard,
burned and destroyed evidence of their involvement in the attack on the Capitol, including the
clothing they wore while at the Capitol on January 6, 2021.

211. On January 7, 2021, in the District of Columbia and elsewhere, the defendant,

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LAURA STEELE,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, and aided and abetted another in doing so, with the intent to impair its integrity
and availability for use in an official proceeding, that is, the grand jury investigation into the attack
on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Sections 1512(c)(1), 2)

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CHANNING D. PHILLIPS
ACTING ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA

 

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